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                              UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 KIPKANO OBEY, SHINDA OBEY,                              §
 TAMMU OBEY AND KIMKENA                                  §
 JORDAN AKA KIMKENA OBEY                                 §
  Plaintiff,                                             §
                                                         §
 v.                                                      §                Civil Action No.4:22-cv-04000
                                                         §
 SN SERVICING CORPORATION AND                            §
 WILMINGTON SAVINGS FUND                                 §
 SOCIETY, FSB                                            §
      Defendant.                                         §

   CERTIFICATE OF PRINCIPAL PLACE OF BUSINESS FOR DEFENDANT SN
 SERVICING CORPORATION AND WILMINGTON SAVINGS FUND SOCIETY, FSB

        Pursuant to the Order issued by this honorable Court on May 3, 2023, Defendants SN

Servicing Corporation (“SN Servicing”) and Wilmington Savings Fund Society, FSB

(“Wilmington”) provides the following information:

        Defendant SN Servicing is an Alaska corporation with its principal place of business at 323

5th Street, Eureka, CA 95301.

        Defendant Wilmington is a Delaware corporation with its principal place of business at

500 Delaware Ave., Wilmington, DE 19801.

                                                     Respectfully submitted,

                                                     CODILIS & MOODY, P.C.

                                                     /s/ Danya F. Gladney
                                                     Danya F. Gladney SBOT 24059786
                                                     Nicole M. Bartee SBOT 24001674
                                                     Kelly M. Doherty SBOT 24118059
                                                     400 N. Sam Houston Parkway East, Suite 900-A
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                                                     ATTORNEYS FOR DEFENDANTS


Defendants’ Certificate of Principal Place of Business
C&M No. 16-2299 / Obey
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                                            CERTIFICATE OF SERVICE

        I hereby certify that on this 4th day of May, 2023, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF filing system, and will send a true and correct copy to
the following:

Via E-Service

Ray L. Shackleford
1406 Southmore Blvd
Houston, Texas 77004
Attorney for Plaintiff
rschackctic@yahoo.com


                                                     /s/ Danya F. Gladney
                                                     Danya F. Gladney




Defendants’ Certificate of Principal Place of Business
C&M No. 16-2299 / Obey
